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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                          *
 UNITED STATES OF AMERICA,                *
                                          *
               v.                         *    CRIMINAL NO. LO-19-0449
                                          *
                                          *
 KENNETH RAVENELL, et al.                 *
                                          *
                    Defendants.           *


         DEFENDANT TREEM’S MOTION FOR A BILL OF PARTICULARS

      Defendant Joshua Treem, by and through undersigned counsel, respectfully moves

this Court to require the Government to provide a bill of particulars identifying in Counts

Four and Five the particular action(s) that constitute the initial criminal act Mr. Treem is

alleged to have first committed and the beginning date on which he is alleged to have first

committed the criminal act. This is not clear in the Second Superseding Indictment and has

been further muddled by contradictory representations by the government. Mr. Treem is

entitled to avoid surprise and to know what he is to defend against at trial. That requires

granting this bill of particulars.

                                       ARGUMENT

      Rule 7(f) of the Federal Rules of Criminal Procedure authorizes the Court to direct

the Government to file a bill of particulars. See United States v. Anderson, 481 F.2d 685, 690

(4th Cir. 1973). The Court has discretion in such matters, but there exists “no discretion to

disregard the requirements of the Sixth Amendment that the accused shall be informed of
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the nature and cause of the accusations against him fully enough to enable him to prepare

his defense.” Williams v. United States, 164 F.2d 302, 304 (5th Cir. 1947) (finding reversible

error for trial court to refuse the defendant’s motion for a bill of particulars).

       The purpose of a bill of particulars is “to enable a defendant to obtain sufficient

information on the nature of the charge against him so that he may prepare for trial,

minimize the danger of surprise at trial, and enable him to plead his acquittal or conviction

in bar of another prosecution for the same offense.” United States v. Schembari, 484 F.2d

931, 934-35 (4th Cir. 1973) (citing United States v. Dulin, 410 F.2d 363, 364 (4th Cir. 1969)).

A bill of particulars serves to amplify the indictment “by providing missing or additional

information so that the defendant can effectively prepare for trial.” United States v. Fletcher,

74 F.3d 49, 53 (4th Cir. 1996) (citations omitted).

       A court may consider “the complexity of the crime charged” when determining what

additional information a defendant needs to adequately prepare for trial. Charles Alan

Wright, et al, 1 Fed. Prac. & Proc. Crim. § 130 (4th ed. 2019); see also United States v.

Wharton, ELH-13- 0043, 2014 WL 1430387, at *12 (D. Md. Apr. 10, 2014), aff’d, 840 F.3d

163 (4th Cir. 2016) (“Given the complexity and nature of the charges, and the extended

period of time involved, I am persuaded to grant the defendants’ request for a bill of

particulars.”).

                  THE BILL OF PARTICULARS SOUGHT IS WARRANTED.

       On July 23, 2021, Mr. Treem and others were charged in Counts Four through Seven

of a Second Superseding Indictment with violations of 18 U.S.C. §§ 371, 1512 and 1519. The

indictment appears to charge that Mr. Treem’s first alleged criminal act occurred on


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September 9, 2017, when he showed a witness a set of exculpatory statements prepared by

his client. (See Count 5, paragraph 2, alleging that the criminal conduct alleged therein

began no later than September 9, 2017 1 and Count Four, paragraph 16, describing the first

overt act by Mr. Treem in furtherance of the conspiracy as occurring on September 9, 2017,

when Mr. Treem traveled to interview R.B.). Notably, the indictment does not allege that

Mr. Treem knew the exculpatory statements were false. The government also charges Mr.

Treem with asking the witness to sign the statements he adopted after the witness had

contradicted himself.

      Perhaps recognizing that neither act constitutes a crime, the government disclaimed

in its omnibus response to defendants’ motions what it had said in the indictment and

acknowledged that defendants cannot be guilty of obstruction of justice simply because “they

memorialized the fact that R.B. made exculpatory statements,” or because they did not

document inculpatory statements that R.B. made. USG Omnibus Resp. at 29, 34-35. To

make the point clearer, the government stated that it was only after September 10, when

they allegedly “fabricated evidence”—the Gordon declaration and the letter to the federal

judge—that the defendants committed a crime. USG Omnibus Resp. at 35 (“But they chose

to fabricate evidence about their meeting with R.B. The Superseding Indictment alleges that

is when they broke the law”).



1Count Five, for example, charges that the defendants created false and fictitious records,
beginning on September 9, 2017, that included “a set of false exculpatory statements titled
`KWR's Combined Notes,’ which Treem and Gordon encouraged R.B. to sign, . . . [which]
were . . . fraudulently prepared to be used to undermine and impeach R .B.'s credibility if he
were to be called in an official proceeding to give testimony against Ravenell.” (Emphasis
added). Paragraphs 11 and 12 of Count Four contain similar language.


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      However, at the argument, the government denied that it had changed its position,

but carefully addressed only the allegations that a crime was charged in Counts Six and

Seven relating to the letter to the federal judge and the declaration by the investigator. Tr.

91-92. (7/7/21-unredacted). Nowhere in the argument did the government stand by the

assertion that Mr. Treem committed a criminal act by seeking to have the witness affirm

statements that were based on information provided by his client or by asking the witness

to sign a document to confirm the statements he had previously affirmed to be true.

      Knowing what the charge really is affects, among other things, what evidence is

admissible at trial against Mr. Treem, what must be defended and what need not. If only

portions of Counts Four and Five are still alleged to be crimes, the time to know that is now.

      Because the government has argued both yes and no, Mr. Treem requests a bill of

particulars in which the Government shall identify what is the first criminal act he is alleged

to have committed in Counts Four and Five and when it occurred. A bill of particulars is

necessary to apprise Mr. Treem what he has been called on to defend, afford him a

meaningful opportunity to prepare a defense, and circumscribe the issues of fact to be

determined at trial.




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                                     CONCLUSION

      As matters stand, Mr. Treem cannot adequately defend the charges against him.

Accordingly, the Court should require the Government to provide a bill of particulars.

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                              CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Motion for Bill of Particulars was, this 1st day

of November, 2021, served on all parties of record via the court’s ECF filing system.




                                       /s/Robert P. Trout
                                       Robert P. Trout




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